                                   IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                           CHARLOTTE DIVISION
                                   CIVIL ACTION NO. 3:21-CV-00612-RJC-DSC


               JOHN MATTHEW YOUNG,                            )
                                                              )
                                 Plaintiff,                   )
                                                              )
               v.                                             )                   ORDER
                                                              )
               AHERN RENTALS INC.,                            )
                                                              )
                                Defendant.                    )



                      THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

              Affidavit [for William H. Foster]” (document #12) filed December 2, 2021. For the reasons set

              forth therein, the Motion will be granted.


                      The Clerk is directed to send copies of this Order to counsel for the parties and to the

              Honorable Robert J. Conrad, Jr.


                      SO ORDERED.


Signed: December 2, 2021




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